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 2   LEAH R. BUSSELL
     Assistant U. S. Attorney
 3   California State Bar No. 141400
     Office of U.S. Attorney
 4   Federal Office Building
     880 Front Street, Room 6293
 5   San Diego, California 92101-8893
     Telephone: (619) 557-6962(619) 557-5401(Fax)
 6   Email: Leah.Bussell@usdoj.gov
 7   Attorneys for Plaintiff
     United States of America
 8
 9                                 UNITED STATES DISTRICT COURT
10                               SOUTHERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                     )       Court No. 03CR1281-J
                                                   )
13                          Plaintiff,             )
                                                   )
14          v.                                     )       DECLARATION AND REQUEST
                                                   )       FOR ORDER FOR APPEARANCE
15   EMMETT ELLSWORTH MOORE,                       )       OF JUDGMENT DEBTOR
                                                   )
16                          Defendant and          )
                            Judgment Debtor.       )       DATE: June 22, 2011
17                                                 )       TIME: 10:00 a.m.

18
            I, Leah R. Bussell, say:
19
            I am an Assistant United States Attorney and one of the attorneys for plaintiff, United States
20
     of America. Judgment was entered on February 12, 2004, for plaintiff against judgment debtor for
21
     a total of $392,200.61. The judgment debtor resides within the jurisdiction of this court. The
22
     judgment has not been satisfied, vacated, reversed, or barred by the statute of limitations, and is one
23
     on which execution may be issued. The judgment remains unpaid, and there is now due and owing
24
     on it $297,661.01 plus accruing interest.
25
     ///
26
     ///
27
     ///
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            The judgment debtor has not been examined within the last four months, and has not filed a
 1   bond to stay execution on appeal.
 2          I declare under the penalty of perjury that the foregoing is true.
 3          DATED: May 4, 2011
 4                                                         LAURA E. DUFFY
                                                           United States Attorney
 5
                                                           s/Leah R. Bussell
 6                                                         LEAH R. BUSSELL
                                                           Assistant U. S. Attorney
 7                                                         Attorneys for Plaintiff
                                                           United States of America
 8                                                         Email: Leah.Bussell@usdoj.gov
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 1                                  UNITED STATES DISTRICT COURT
 2                               SOUTHERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                     )               Court No. 03CR1281-J
 4                                                 )
                            Plaintiff,             )
 5                                                 )
                    v.                             )
 6                                                 )               CERTIFICATE OF SERVICE
     EMMETT ELLSWORTH MOORE,                       )
 7                                                 )
                            Defendant.             )
 8                                                 )
 9   IT IS HEREBY CERTIFIED THAT:
10          I, Leah R. Bussell, am a citizen of the United States and am at least eighteen years of age. My
11   business address is 880 Front Street, Room 6293, San Diego, California 92101-8893.

12          I am not a party to the above-entitled action. I have caused service of Declaration and Request
     For Appearance of Judgment Debtor on the following parties by electronically filing the foregoing
13   with the Clerk of the District Court using its ECF System, which electronically notifies them.

14          N/A

15          I hereby certify that I have caused to be mailed the foregoing, by the United States Postal
     Service, to the following non-ECF participants on this case:
16
            Emmett Ellsworth . Moore
17          1613 Linda Sue Lane
            Encinitas, CA 92024
18
             the last known address, at which place there is delivery service of mail from the United States
19   Postal Service.

20          I declare under penalty of perjury that the foregoing is true and correct.
21          Executed on May 4, 2011.
22                                                         s/Leah R. Bussell
                                                           LEAH R. BUSSELL
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                                                                                                   03CR1281-J
